                                                                                Case 3:16-cv-01150-WHA Document 317 Filed 08/26/16 Page 1 of 2



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                                                                          6                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   B & R SUPERMARKET, INC.; GROVE                               No. C 16-01150 WHA
                                                                              LIQUORS, LLC,
                                                                         11
United States District Court




                                                                                             Plaintiffs,
                               For the Northern District of California




                                                                         12                                                                ORDER REGARDING LETTER
                                                                                v.                                                         FROM PLAINTIFFS
                                                                         13
                                                                              VISA, INC.; VISA USA, INC.;
                                                                         14   MASTERCARD INTERNATIONAL,
                                                                              INC.; AMERICAN EXPRESS COMPANY;
                                                                         15   DISCOVER FINANCIAL SERVICES; BANK
                                                                              OF AMERICA, N.A.; BARCLAYS BANK
                                                                         16   DELAWARE; CAPITAL ONE FINANCIAL
                                                                              CORPORATION; CHASE BANK USA, N.A.;
                                                                         17   CITIBANK (SOUTH DAKOTA), N.A.;
                                                                              CITIBANK, N.A.; PNC BANK, N.A.; USAA
                                                                         18   SAVINGS BANK; U.S. BANCORP, N.A.;
                                                                              WELLS FARGO BANK, N.A.; EMVCo,
                                                                         19   LLC; JCB CO., LTD; and UNIONPAY, a
                                                                              Chinese bank association,
                                                                         20
                                                                                             Defendants.
                                                                         21                                                  /
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                                                                                     The Court has received plaintiff’s letter concerning defendant Discover’s motion to
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                                                                              compel arbitration as to intervening plaintiff Rue21 (Dkt. No. 312). The letter asks for
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                                                                              “guidance regarding whether a response to the improper motion is required” and asks the Court
                                                                         25
                                                                              to “strike the improper filing.” Plaintiffs’ letter does not conform with Local Rule 7-1(a),
                                                                         26
                                                                              among other rules, and will be disregarded. The deadline for responding to the motion to
                                                                         27
                                                                              compel remains in effect. Intervening plaintiff Rue 21 shall raise all appropriate arguments in
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                                                                          1   its response. Likewise, Discover shall raise all appropriate counter-arguments in its reply.
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                                                                          3          IT IS SO ORDERED.
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                                                                          5   Dated: August 26, 2016.
                                                                                                                                WILLIAM ALSUP
                                                                          6                                                     UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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